Case 2:20-cv-06298-RGK-E Document 39 Filed 09/25/20 Page 1 of 6 Page ID #:370


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15    Backgrid USA, Inc., Splash News and
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16    Agency, Inc.

17                         UNITED STATES DISTRICT COURT
18                       CENTRAL DISTRICT OF CALIFORNIA
19    ENTTECH MEDIA GROUP LLC,                   Case No.: 2:20-cv-06298 RGK (Ex)
                                                 Hon. R. Gary Klausner
20                  Plaintiffs,
                                                 JOINT NOTICE OF MOTION AND
21          v.
                                                 MOTION FOR SANCTIONS
22    OKULARITY, INC.; JON NICOLINI;
      BACKGRID USA, INC.; SPLASH                 [MEMORANDUM OF POINTS AND
23    NEWS AND PICTURE AGENCY,                   AUTHORITIES; DECLARATION OF
24    LLC; AND XPOSURE PHOTO                     JON NICOLINI; DECLARATION OF
      AGENCY, INC.                               PETER PERKOWSKI,
25
                    Defendants.                  DECLARATION OF JOANNA
26                                               ARDALAN AND PROPOSED
27                                               ORDER FILED CONCURRENTLY
                                                 HEREWITH]
28

                     NOTICE OF MOTION AND MOTION FOR SANCTIONS
Case 2:20-cv-06298-RGK-E Document 39 Filed 09/25/20 Page 2 of 6 Page ID #:371



 1                                           Date:      October 26, 2020
                                             Time:      9;00 a.m.
 2                                           Place:     TBD
 3                                           Compl. filed:     July 15, 2020
                                             No Trial Date Set
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                   NOTICE OF MOTION AND MOTION FOR SANCTIONS
Case 2:20-cv-06298-RGK-E Document 39 Filed 09/25/20 Page 3 of 6 Page ID #:372


 1         TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD
 2   HEREIN:
 3         PLEASE TAKE NOTICE that on October 26, 2020, at 9:00 a.m., or as soon
 4   thereafter as the matter may be heard before the Honorable R. Gary Klausner, at a
 5   place to be determined by the Court, Defendants Okularity, Inc.; Jon Nicolini;
 6   Backgrid USA, Inc.; Splash News and Picture Agency, LLC; and Xposure Photo
 7   Agency, Inc. (“Defendants”) will, and hereby do, move the Court for an order of
 8   sanctions against Robert Tauler and Tauler Smith LLP in the form of attorneys’ fees
 9   and striking ENTtech’s First Amended Complaint and/or the allegations listed
10   below.
11         This Motion is based upon this Notice of Motion and Motion, the
12   accompanying Memorandum of Points and Authorities, Declaration of Jon Nicolini,
13   Declaration of Joanna Ardalan, Declaration of Peter Perkowski filed concurrently
14   herewith, the files, records, and pleadings in this action, and any other additional
15   argument or evidence that may be presented at or before the hearing of this Motion.
16         Specifically, Defendants contend that Tauler and Tauler Smith LLP failed to
17   make a reasonable inquiry and ignored evidence and information provided to them
18   about key factual allegations that they alleged in support of ENTtech’s DMCA and
19   RICO claims as alleged in the First Amended Complaint. The allegations and the
20   claims are frivolous in violation of FRCP 11 and sanctionable under the Court’s
21   Inherent Power and under the Local Rules of the Central District of California. The
22   following allegations are sanctionable and frivolous and should be stricken:
23             • “Okularity does this [sends DMCA takedown notices] without any of
24                the investigation, warning, or legal analysis required by the DMCA … ”
25                (FAC ¶ 15.)
26             • “Through its proprietary software, Okularity automatically generates
27                and submits DMCA Notices to any social media platform, including
28                Instagram, containing an Image in Okularity’s database.” (FAC ¶ 15.)
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                     NOTICE OF MOTION AND MOTION FOR SANCTIONS
Case 2:20-cv-06298-RGK-E Document 39 Filed 09/25/20 Page 4 of 6 Page ID #:373



 1           • “By automatically generating and submitting DMCA Notices, Okularity
 2               has failed to follow the terms of the DMCA.” (FAC ¶ 17.)
 3            • “Defendants (1) are engaged in a scheme to deprive Plaintiff of its
 4               digital assets through a pattern of fraudulent statements made in DMCA
 5               Notices …” (FAC ¶ 18.)
 6            • “Plaintiff’s CEO immediately contacted Defendants, and was faced
 7               with the extortionate demand of $4.6 million dollars …” (FAC ¶ 23.)
 8            • “However, since the DMCA Notices are automatically generated and
 9               submitted without any attorney supervision, Okularity does not engage
10               in any analysis prior to generating and filing DMCA takedown notices
11               as it should.” (FAC ¶ 27.)
12            • “It was only after Okularity filed forty-eight (48) DMCA take-down
13               notices against Paper that Instagram disabled Paper’s account.” (FAC
14               ¶ 29.)
15            • “On at least 48 instances in 2019 and 2020 Defendants willfully,
16               knowingly and materially made third-party §512(f) misrepresentations
17               to Instagram stating that Plaintiff's images, some over three years old,
18               were infringing intellectual property rights owned by one of the
19               Clearinghouse Defendants.” (FAC ¶ 37.)
20            • “Defendants [sic] misconduct includes its failure to take into
21               consideration ‘fair use’ as a defense to their alleged claims.” (FAC
22               ¶ 40.)
23            • “Not only did Defendants fail to consider fair use []” (FAC ¶ 41.)
24            • “Clear that Okularity has any right to send DMCA notices on behalf of
25               Backgrid, Splash or Xposure”) (FAC ¶ 41)
26            • Okularity sent fraudulent notices to Instagram …” (FAC ¶ 50.)
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                    NOTICE OF MOTION AND MOTION FOR SANCTIONS
Case 2:20-cv-06298-RGK-E Document 39 Filed 09/25/20 Page 5 of 6 Page ID #:374



 1            • “Okularity (acting through Nicolini), submitted the DMCA notices to
 2               Instagram [] on behalf of their principals [the Photo Agencies].” (FAC
 3               ¶ 51)
 4            • “When Okularity … submitted the DMCA notices to Instagram …
 5               Nicolini knew (and thus, Okularity and all of its principals also knew)
 6               that no ‘good faith’ basis existed for believing that Plaintiff’s uses of
 7               the images were unauthorized.” (FAC ¶ 51.)
 8            • “Rather, the Defendants all knew that the notices were based solely on
 9               the results of a software application created to scan the internet for
10               copies of images in which copyrights had been claimed – without any
11               inquiry (much less, a good faith inquiry) into whether the uses of those
12               images were “authorized by the copyright owner, its agent, or the law.”
13               (FAC ¶ 51.)
14            • “improper DMCA notices” (FAC ¶ 52.)
15            • “purposely without regard to the truth or falsity of the allegation that
16               any of Plaintiff’s uses of the photographs was prohibited by law.”
17               (FAC ¶ 53.)
18         Pursuant to Rule 11, this motion and the supporting papers were served by
19   mail on August 31, 2020 and a courtesy copy was served electronically on
20   September 3, 2020 at Mr. Tauler’s request. (Ardalan Decl., ¶ 7.)
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                    NOTICE OF MOTION AND MOTION FOR SANCTIONS
Case 2:20-cv-06298-RGK-E Document 39 Filed 09/25/20 Page 6 of 6 Page ID #:375



 1         Pursuant to Local Rule 7-3, this Motion is made following the conference of
 2   counsel which took place on September 9, 2020.
 3
 4   Dated: September 25, 2020            ONE LLP
 5
                                          By: /s/ Joanna Ardalan
 6                                            Joanna Ardalan
 7                                            Peter R. Afrasiabi

 8                                             Attorneys for Plaintiff
 9                                             Backgrid USA, Inc.; Splash News and
                                               Picture Agency, LLC, Xposure Photo
10                                             Agency, Inc.
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                    NOTICE OF MOTION AND MOTION FOR SANCTIONS
